






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00762-CR






Dominic Andrew Gonzales, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 167TH JUDICIAL DISTRICT


NO. 990555, HONORABLE MICHAEL LYNCH, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant's motion to dismiss this appeal is granted.  See Tex. R. App. P. 42.2(a). 
The appeal is dismissed.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed on Appellant's Motion

Filed:   January 27, 2005

Do Not Publish


